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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY

 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                       Plaintiffs,
 v.                                             Civ. Action No. 24-03993-HB

 BLACKBAUD, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                       Plaintiffs,
 v.                                             Civ. Action No. 24-03998-HB

 WHITEPAGES, INC., et al.,
              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                       Plaintiffs,
 v.                                             Civ. Action No. 24-04000-HB

 HIYA, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                       Plaintiffs,              Civ. Action No. 24-04107-HB
 v.

 ACXIOM, LLC, et al.,

                           Defendants.




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 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04073-HB
 COMMERCIAL REAL ESTATE
 EXCHANGE, INC., et al.,
              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04077-HB

 CARCO GROUP INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04095-HB

 TWILIO, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04104-HB

 6SENSE INSIGHTS, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04105-HB

 LIGHTBOX PARENT, L.P., et al.,

                   Defendants.
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 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04106-HB
 SEARCH QUARRY, LLC, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04110-HB

 ENFORMION, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04111-HB

 COSTAR GROUP, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,
                   Plaintiffs,
 v.                                         Civ. Action No. 24-04112-HB
 ORACLE INTERNATIONAL
 CORPORATION, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04113-HB

 RED VIOLET, INC., et al.,

                   Defendants.
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 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                     Plaintiffs,
 v.                                           Civ. Action No. 24-04114-HB
 RE/MAX, LLC, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                     Plaintiffs,
 v.
                                              Civ. Action No. 24-04168-HB
 EPSILON DATA MANAGEMENT,
 LLC, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                     Plaintiffs,
 v.                                           Civ. Action No. 24-04171-HB

 PEOPLE DATA LABS, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                     Plaintiffs,
 v.                                           Civ. Action No. 24-04175-HB

 CLARITAS, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                     Plaintiffs,
 v.                                           Civ. Action No. 24-04181-HB

 DATA AXLE, INC., et al.,

                     Defendants.
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 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04182-HB
 REMINE, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04184-HB

 LUSHA SYSTEMS, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04217-HB

 TELTECH SYSTEMS, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,
                   Plaintiffs,
 v.                                          Civ. Action No. 24-04227-HB

 PEOPLECONNECT, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04230-HB

 CORELOGIC, INC., et al.,

                   Defendants.

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 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04233-HB
 BLACK KNIGHT TECHNOLOGIES,
 LLC, et al.,
              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.
                                            Civ. Action No. 24-04269-HB
 THOMSON REUTERS
 CORPORATION, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04271-HB

 CHOREOGRAPH LLC, et al.,
              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04288-HB

 TRANSUNION, LLC, et al.,

                   Defendants.




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 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04298-HB
 EQUIFAX, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04299-HB

 SPOKEO, INC., et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04354-HB

 TELNYX LLC, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,
                   Plaintiffs,
 v.                                          Civ. Action No. 24-04392-HB

 MYHERITAGE, LTD, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                          Civ. Action No. 24-04442-HB

 WILAND, INC., et al.,

                   Defendants.

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 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04770-HB
 VALASSIS DIGITAL CORP., ET
 AL., et al.,
              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04447-HB

 ATDATA, LLC, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.                                         Civ. Action No. 24-04571-HB
 PRECISELY HOLDINGS, LLC, ET
 AL., et al.,
              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                   Plaintiffs,
 v.
                                            Civ. Action No. 24-04696-HB
 OUTSIDE INTERACTIVE, INC., et
 al.,

                   Defendants.




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 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                     Plaintiffs,
 v.                                           Civ. Action No. 24-04850-HB
 THE LIFETIME VALUE CO. LLC,
 ET AL., et al.,
              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                     Plaintiffs,
 v.
                                              Civ. Action No. 24-05334-HB
 FIRST AMERICAN FINANCIAL
 CORPORATION ET AL, et al.,

              Defendants.
 ATLAS DATA PRIVACY
 CORPORATION, et al.,

                     Plaintiffs,
 v.                                           Civ. Action No. 24-06160-HB
 LEXISNEXIS RISK DATA
 MANAGEMENT, LLC et al.,

                     Defendants.

              CERTIFICATION OF RAJIV D. PARIKH
  IN FURTHER SUPPORT OF PLAINTIFFS’ CONSOLIDATED MOTION
                        TO REMAND


       I, RAJIV D. PARIKH, of full age, hereby certify as follows:

       1.    I am an attorney duly admitted to practice before the United States

 District Court for the District of New Jersey, and a Partner at the law firm of PEM

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 Law LLP, attorneys for plaintiffs in the above captioned matters. As such, I have

 personal knowledge of the information provided in this Certification in accordance

 with Local Civ. R. 7.2(a).

       2.     I make this Certification in support of Plaintiffs’ Consolidated Motion

 for Remand (“Motion”).

       3.     A true and correct copy of excerpts from the transcript from the July

 30, 2024, deposition of Plaintiff Atlas Data Privacy Corporation’s corporate

 designee, Matthew Adkisson is attached hereto as Exhibit A.


       I hereby certify that the foregoing statements made by me are true. I am aware

 that if any of the foregoing statements made by me are willfully false, I am subject

 to punishment.


 Dated: October 10, 2024


                                                   s/ Rajiv D. Parikh
                                                   RAJIV D. PARIKH




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